                                                                             SO ORDERED.


                                        UNITED STATES BANKRUPTCY
                                                             Dated:COURT
                                                                    March 11, 2018

                                             FOR THE DISTRICT OF ARIZONA

                                                   Minute Entry Order
                                                                  ______________________________________
                                                                             Madeleine C. Wanslee, Bankruptcy Judge
Hearing Information:
                         Debtor:   LAWRENCE GARALD & STEFANIE CHRISTINE MARIE SPEAR
                  Case Number:     2:17-BK-05671-MCW        Chapter: 13

          Date / Time / Room:      THURSDAY, MARCH 08, 2018 01:30 PM 7TH FLOOR #702

         Bankruptcy Judge:         MADELEINE C. WANSLEE
               Courtroom Clerk:    CHRISTINA JOHNSON
                Reporter / ECR:    MICHELLE RADICKE-STEVENSON                                                         0.00


Matter:
              STATUS HEARING ON CHAPTER 13 PLAN
              R / M #:   20 / 0


Appearances:

        RACHEL FLINN, ATTORNEY FOR RUSSELL BROWN, TRUSTEE


Proceedings:                                                                                                   1.00

        Ms. Flinn advised debtors are delinquent with plan payments and their last response was filed in October.
        She stated debtors have not responded to the trustee's recommendation and she confirmed she is seeking
        dismissal of the case.

        The court notes debtors have failed to appear.

        COURT: DEBTORS HAVE FAILED TO MAKE PLAN PAYMENTS, FAILED TO APPEAR AT TODAY'S
        HEARING, AND HAVE FAILED TO RESOLVE ITEMS THREE, FOUR, AND SIX THROUGH EIGHT OF
        THE TRUSTEE'S RECOMMENDATION. FOR THOSE REASONS, THE COURT HEREBY DISMISSES THIS
        CASE.




                            ____________________________________
                            HONORABLE MADELEINE C. WANSLEE
                                 United States Bankruptcy Judge




   Case
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                                                                                          03/09/2018
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